Filed 09/06/19                                                             Case 19-21640                                     Doc 109

     FORM L161 Order approving Final Report and Account and Discharging Trustee (v.09.14)                       19−21640 − B − 11

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                               Robert T Matsui United States Courthouse
                                       501 I Street, Suite 3−200
                                        Sacramento, CA 95814

                                                  (916) 930−4400
                                               www.caeb.uscourts.gov
                                               M−F 9:00 AM − 4:00 PM




                 ORDER APPROVING FINAL REPORT AND ACCOUNT AND DISCHARGING TRUSTEE

     Case Number:             19−21640 − B − 11
     Debtor Name(s) and Address(es):


        Debora Leigh Miller−Zuranich
        9369 Newington Way
        Elk Grove, CA 95758

     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
       Debora Leigh Miller
       Joseph J. Miller Living Trust dated October 8, 2007




        The Chapter 13 Trustee has filed a final report and account with the Court and the Office of the
        United States Trustee, and certified that the estate of the above−named debtor(s) has been fully
        administered. No objection has been timely filed with the Clerk by the United States Trustee or a
        party−in−interest, and no hearing concerning the matter has been set. Therefore, pursuant to Federal
        Rule of Bankruptcy Procedure 5009, there is a presumption that the estate of the above−named
        debtor(s) has been fully administered.

        IT IS ORDERED that the final report and account is approved.

        IT IS FURTHER ORDERED that the Chapter 13 Trustee is hereby discharged and relieved of his
        trust, that his bond is hereby exonerated, and that the surety or sureties thereon are hereby released
        from further liability thereunder except any liability which may have accrued during the time such
        bond was in effect.



     Dated:                                                                         FOR THE COURT
     9/6/19
                                                                                    Wayne Blackwelder , CLERK
